FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                             INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                    Document 14-6   Filed 01/16/25   Page 1 of 14
                                                                       RECEIVED     PageID:
                                                                                 NYSCEF: 04/26/2021
                                              89




                                      EXHIBIT “3”
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                     INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                                 Document 14-6            Filed 01/16/25    Page 2 of 14
                                                                                              RECEIVED     PageID:
                                                                                                        NYSCEF: 04/26/2021
                                                           90



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         --------------------------------------------------------------------------x
         KEVIN BEASLEY, and KEVIN BEASLEY
         STUDIO, LLC,                                                                  Index No.: 651397/2021

                                            Plaintiffs,

                          -against-                                                    Affidavit of Kevin Beasley in
                                                                                       Support of Motion for Default
         BAYVIEW AUTO WRECKERS, INC., MICHAEL
         FANELLI, and DOES 1-10,

                                             Defendants.
         --------------------------------------------------------------------------x


                 I, Kevin Beasley, being duly sworn, depose and say:

                 1.       I have reviewed the complaint dated March 2, 2021, and aver that the factual

         allegations made therein are true.

                                                       Introductory Facts
                 2.       I am a contemporary African-American artist whose artworks are highly valued

         and very much in demand. My works deal with African-American culture and cultural

         connotations, have been widely exhibited, and are held in the collections of internationally-

         renowned art museums. I am the sole owner of plaintiff Kevin Beasley Studio, LLC, and all of

         the facts stated herein are also made in behalf of my eponymous LLC.

                 3.       In the spring of 2017, I was organizing works for my second exhibition at Casey

         Kaplan Gallery in New York. For the show’s centerpiece I decided to create a new artwork that I

         had been considering for some time, dealing with the African-American community’s

         longstanding affinity for Cadillac vehicles (which dates back to at least the 1920s and 1930s,

         when company policy prohibited sales to Blacks) as an aspirational luxury brand and symbol of

         success – which can be seen today in the popularity of the Cadillac brand in rap music videos,


                                                                  1
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                             Document 14-6       Filed 01/16/25       Page 3 of 14
                                                                                        RECEIVED     PageID:
                                                                                                  NYSCEF: 04/26/2021
                                                       91



         and among athletes and entertainers, for example. As a symbol of pop culture, it was integral to

         my artistic vision that I crush a Cadillac.

                4.      To execute this project, I needed to purchase a vehicle, and gave considerable

         thought to the one I ultimately chose: a 2008 white Cadillac Escalade ESV. While Cadillac has

         made many models over the more than 100 years of its existence, I purposefully chose the

         Escalade because it is the brand’s most luxurious and expensive model. I required a Cadillac

         with a white exterior and cream interior because of this color scheme’s popularity in the Black

         community, signifying a level of purity and beauty, and contrasting with the black Escalades

         driven by many Uber and taxi and car service drivers. Finally, I specifically looked for a model

         year from 2007 onward when the Escalade was totally redesigned and updated to be significantly

         more luxurious than models from the late 1990s to 2006. As I live in New York City, I searched

         the Northeast and mid-Atlantic states looking for the most pristine vehicle available at the time,

         and in March 2017 found one for sale by an automobile dealer in Connecticut.

                5.      Before I purchased the vehicle, I needed to make sure that I could find a vendor to

         crush the car. I called a number of wreckers and junkyards, but none would crush the car and

         then allow me to keep it, until I reached out to defendant Bayview Auto Wreckers. In March

         2017, I spoke with Bayview’s owner/manager, defendant Michael Fanelli, and was completely

         transparent about the fact that I am an artist, that I was planning to buy a 2008 Escalade for a

         new artwork for my May exhibition, that I needed to be able to direct and instruct regarding the

         process of crushing the car to achieve the effect I intended, that I needed to be able to take the

         car after it was crushed, that the model year of the car was particularly significant for this work,

         and that I and a film crew needed to be present for and document defendants’ crushing of the

         vehicle as part of the mixed-media artwork I intended – as to all of which the defendants



                                                           2
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                 INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                            Document 14-6         Filed 01/16/25       Page 4 of 14
                                                                                         RECEIVED     PageID:
                                                                                                   NYSCEF: 04/26/2021
                                                      92



         acknowledged and agreed to. Based on defendants’ representations, I drove to Connecticut and

         on March 29, 2017, purchased the white 2008 Escalade ESV for $12,000.

                6.      On April 5, 2017, I delivered the 2008 Escalade ESV to Bayview and contracted

         with defendants to crush the vehicle for my mixed-media artwork. In hiring defendants to do so,

         I reiterated the concerns and requirements that I had communicated to Mr. Fanelli in March

         2017, and defendants affirmed that they would meet these requirements, and crush the vehicle

         for a fee of $2,500. I made an appointment for the crushing to occur on April 12, 2017 so that I

         could come back to Bayview’s premises with my film crew.

                7.      When my crew and I arrived at Bayview on April 12, 2017 as scheduled, we

         found that despite defendants’ representations, Bayview personnel had already begun crushing

         the car. After Mr. Fanelli made a show of admonishing the Bayview employees, the filming

         commenced, and later that month the crushed vehicle was delivered to the Casey Kaplan Gallery.

         At the gallery, I was able to perform some additional work on the Escalade before the May 2017

         exhibition, and I titled the work Sport/Utility. The exhibition was also titled Sport/Utility, after

         the crushed Escalade, and press regarding the exhibit noted that it was a 2008 model.

                8.      The completed Sport/Utility work was valued at $180,000 when it was first

         completed in April 2017. As more museums have acquired and shown my work and the market

         for my work has grown since that time, the value of Sport/Utility appreciated to $350,000 at the

         start of November 2020.

                9.      However, in November 2020, I obtained confirmation that defendants had

         surreptitiously and purposely substituted a different Escalade for the 2008 Escalade ESV that I

         had purchased in Connecticut and delivered to the defendants, when they received a CarFax

         report indicating that the 2008 Escalade ESV had suffered collision damage in 2019 and 2020.


                                                           3
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                            Document 14-6         Filed 01/16/25      Page 5 of 14
                                                                                        RECEIVED     PageID:
                                                                                                  NYSCEF: 04/26/2021
                                                      93



         Investigation further confirmed that the vehicle that the defendants had delivered to me at the

         Casey Kaplan Gallery in April 2017 was not the same car that I had delivered to Bayview, but a

         different model Escalade from an earlier model year, prior to the Escalade redesign.

                10.     As a result of the defendants’ recently discovered deliberate misrepresentations,

         their surreptitious conversion of my 2008 Escalade ESV, and their breaches of a contract that

         was integral to the creation of one of my most well-known and publicized works, Sport/Utility

         does not in fact represent my artistic vision and intent. It cannot be sold and literally has no value

         as my artwork. As a further result, my integrity and the integrity of this work have been

         questioned by the public, leaving me at risk of a significant loss in reputation, demand for my

         works, and professional opportunities.

                11.     Therefore, I and my LLC, through which I conduct business, request that the court

         set this matter down for an inquest for an assessment of damages caused by the defendants’

         deliberate, fraudulent conduct described in greater detail below.

                                                  Statement of Facts
                12.     My artworks illuminate the history, experience, culture, and cultural connotations

         of African Americans. My work has been exhibited at renowned museums and galleries

         throughout the world, including, for example, the Contemporary Art Center in Riga, Latvia

         (2017); the Hammer Museum, Los Angeles (2017); the Renaissance Society at the University of

         Chicago (2016); the San Francisco Museum of Modern Art (2016); the Hammer Museum at Art

         & Practice, Los Angeles (2016); White Columns, New York (2016); the Solomon R.

         Guggenheim Museum, New York (2015); MoMA PS1, Long Island City (2015); Art Gallery of

         Ontario, Toronto (2015); the Glass House, New Canaan, CT (2015); the 2014 Whitney Biennial,

         Whitney Museum of American Art, New York (2014); the Seoul Museum of Art, Seoul (2014);



                                                           4
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                             INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                           Document 14-6       Filed 01/16/25      Page 6 of 14
                                                                                     RECEIVED     PageID:
                                                                                               NYSCEF: 04/26/2021
                                                     94



         The Museum of Modern Art, New York (2014); and the Studio Museum in Harlem, New York

         (2014). Mr. Beasley’s work is held in many collections, such as the collections of the Tate

         Modern, London; the Art Gallery of Ontario, Toronto; the Museum of Modern Art, New York;

         the Studio Museum in Harlem, New York; the Solomon R. Guggenheim Museum, New York;

         Hammer Museum, Los Angeles; Perez Art Museum Miami; the Art Institute of Chicago; and

         San Francisco Museum of Modern Art.

                13.     I also often incorporate sound and music into my works, and have performed at

         Lincoln Center for the Performing Arts, New York (2016); Art Gallery of Ontario, Toronto

         (2016); Casey Kaplan Gallery, New York (2015); the Dallas Museum of Art (2015); the

         Solomon R. Guggenheim Museum, New York (2015); the Museum of Contemporary Art,

         Cleveland (2014); the Walker Art Center, Minneapolis (2014); Queens Museum of Art, New

         York (2014); the Museum of Modern Art, New York (2012); and elsewhere.

                14.     This action concerns an artwork that I intended to create in 2017 to comment on

         the trappings of Blacks’ social ascendance and my personal experiences, in relation to a largely

         forgotten aspect of our American history.

                15.     In or about March 2017, I purchased a 2008 Cadillac Escalade ESV which formed

         the underpinning for my 2017 work entitled “Sport/Utility,” described as “Stripped and crushed

         2008 Cadillac Escalade ESV,” with dimensions of: 65.5" x 93" x 203". “Sport/Utility” was

         shown prominently in my second exhibition at the Casey Kaplan Gallery in New York, in May

         2017, and was most recently valued at approximately $350,000, prior to the discovery of the

         defendants’ fraud, which fraud rendered the work valueless.




                                                         5
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                               INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                           Document 14-6         Filed 01/16/25      Page 7 of 14
                                                                                       RECEIVED     PageID:
                                                                                                 NYSCEF: 04/26/2021
                                                     95



                16.     This is a true and accurate depiction of the work, as exhibited at the Casey Kaplan

         Gallery:




                17.     In creating Sport/Utility, I referenced the aspirational place of the Cadillac brand

         in U.S. history and in Black culture going back to the 1920s. Cadillac was established over one

         hundred years ago and has historically been at the forefront of American luxury brands.

         Culturally, Cadillac has been highly acquired and a staple within Black culture for multiple

         generations. For example, since the 1990s, various Cadillac models have repeatedly been

         featured in rap videos, and been purchased and modified by Black sports and entertainment

         figures.

                18.     In the 1920s and 1930s, GM policy was that Cadillac was a Whites-only brand

         (although of course, discriminatory sales practices were not unique to General Motors at that

         time). In the midst of the Great Depression, GM was considering cancelling the Cadillac brand

         due to lack of profitability. But in the 1930s a Cadillac engineer canvassed owners and learned

         that despite GM’s policy, many Blacks bought the cars (which were more economically

         attainable at that time than land or a house), either used or through a Caucasian front person. The

         engineer promoted revamping Cadillac’s sale policy, resulting in Cadillac eventually lifting the




                                                          6
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                            Document 14-6        Filed 01/16/25      Page 8 of 14
                                                                                       RECEIVED     PageID:
                                                                                                 NYSCEF: 04/26/2021
                                                      96



         ban on sales to Blacks in 1932. GM began targeted advertising towards Blacks, and within eight

         years Cadillac became profitable, with sales having increased tenfold by 1940, and the

         advertising towards Blacks having become the first successful targeted marketing campaign.

         Thus, for nearly a century, the Cadillac brand has been a symbol of Black achievement, with

         distinct cultural connotations to Blacks.

                19.     My awareness of this history and of Cadillac’s status in the Black community –

         including among my own family, friends and acquaintances as I was growing up – led me to

         conceive of a project involving the destruction of a Cadillac. Although Cadillac has sold many

         different models over the years, I specifically required a white Cadillac Escalade because of its

         cultural significance: the Escalade is the most luxurious Cadillac, and very much a pop culture

         icon. A white exterior with cream interior color combination was also conceptually critical, as

         conveying a level of purity and beauty, particularly in the Black community, and standing in

         comparison to the black Escalades driven by many Uber drivers, and car and taxi services. The

         model became especially prized by successful Black businessmen, professionals, musicians,

         athletes, and actors.

                20.     In finding the right vehicle to use for Sport/Utility, I was also specifically focused

         on the model year of the white Escalade I required. From the late 1990s to 2006 the Escalade,

         while luxurious, had a dated body design and a less than premium interior. From the 2007 model

         year onward, however, the Escalade was totally redesigned and updated. For Sport/Utility, I

         specifically looked for a later model (2007 onward) white exterior and interior Escalade.

                21.     As I live in New York, I searched the Northeast and mid-Atlantic states in the

         winter and spring of 2017 for the most pristine post-2007 redesign I could find. In March 2017 I

         found an automobile dealer in Connecticut selling a 2008 white Escalade ESV. “ESV” stands for



                                                          7
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                INDEX NO. 651397/2021
        Case
NYSCEF DOC.   3:24-cv-09172-MAS-RLS
            NO.  7                            Document 14-6         Filed 01/16/25      Page 9 of 14
                                                                                        RECEIVED     PageID:
                                                                                                  NYSCEF: 04/26/2021
                                                      97



         “Escalade Stretch Vehicle,” and denotes a longer body than a standard Escalade; it is more

         luxurious and valued.

                22.     Before purchasing the car, however, I sought out a company that could meet the

         specific requirements that I needed to create the artwork. After contacting several junkyards

         which would not allow me to take a car after it was crushed, in or about March 2017 I contacted

         defendant Bayview and spoke with its owner/manager, defendant Michael Fanelli. I informed

         Mr. Fanelli that I am an artist and needed to have an Escalade crushed for a new artwork to be

         displayed in an upcoming gallery show. I explained to Mr. Fanelli that the model year of the car

         was critical, and that his project required this Escalade (that I had located in Connecticut). I

         further advised Mr. Fanelli that I had to be present for and able to direct the crushing of the

         Escalade, and that a film crew and I had be present to video and photograph the crushing

         process, as this documentation would be part of the artwork.

                23.     Mr. Fanelli assured me that Bayview would allow me to take the car after it was

         crushed and would meet all of my requirements. Mr. Fanelli also specifically described certain

         measures Bayview ostensibly had to take before the car was crushed to ensure that certain things

         did not pop out or leak, so the final product would be safe – such as removing most of the

         interior, the engine, fuel tank, power train, fluids and tires. I agreed to this but demanded, and

         Mr. Fanelli/Bayview agreed, that at least the windshield, the dashboard, and the brand name

         would remain on the car, so that the car was identifiable as a 2008 Escalade. Had Bayview been

         unable to meet my requirements, I would not have contracted with Bayview to crush the car, and

         indeed would not have purchased the Escalade for the artwork.

                24.     In reliance upon Mr. Fanelli’s promises, I traveled to Connecticut and on March

         29, 2017 purchased from automobile dealer Shamrock Motors LLC a white 2008 Escalade ESV



                                                           8
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                              INDEX NO. 651397/2021
        CaseNO.
NYSCEF DOC.  3:24-cv-09172-MAS-RLS
                7                           Document 14-6        Filed 01/16/25      Page 10 of NYSCEF:
                                                                                      RECEIVED  14 PageID:
                                                                                                        04/26/2021
                                                     98



         (VIN No.: 1GYFK6 6898R163185) that was manufactured in 2007 and originally sold in early

         2008.

                 25.    Through Kevin Beasley Studio, LLC, I contracted with Bayview in or about early

         April 2017 to crush the 2008 Escalade, and delivered the Escalade to Bayview on or about April

         5, 2017. Bayview’s April 5, 2017 invoice noted that it was crushing the Escalade “FOR ART

         SHOW,” although it misidentified the model year as “[20]07.” When I delivered the 2008

         Escalade on April 5, 2017, I had to make a subsequent appointment with Bayview for the

         crushing process, since it was to be documented, and I again instructed and confirmed with Mr.

         Fanelli that Bayview was not to commence the process until my film crew and I arrived the

         following week, on April 12, 2017, which Mr. Fanelli understood the importance of for the

         creation of the artwork, and again confirmed.

                 26.     However, when my film crew and I arrived at Bayview for the appointment on

         April 12, 2017, I observed that Bayview had already begun to crush the vehicle, and my crew

         and I saw a partially crushed white Escalade up on a high platform that we could not see well.

         When I urgently protested to Mr. Fanelli, Mr. Fanelli blamed Bayview’s employees,

         reprimanded them and stated to me essentially, “I told those idiots to wait for you. They messed

         up. Sorry.”

                 27.    With no other choice, I instructed my film crew to start filming from that point,

         unable to document the crushing of the vehicle from the beginning of the process, as was my

         originally disclosed intention.

                 28.    After the crushing process was completed, Bayview personnel did not allow me to

         take the Escalade or have it delivered immediately. Instead, Bayview personnel purposely lifted




                                                         9
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                INDEX NO. 651397/2021
        CaseNO.
NYSCEF DOC.  3:24-cv-09172-MAS-RLS
                7                            Document 14-6         Filed 01/16/25      Page 11 of NYSCEF:
                                                                                        RECEIVED  14 PageID:
                                                                                                          04/26/2021
                                                      99



         it and placed it on top of a stack of crushed cars, making it impossible to inspect. As a result, I

         was unable to get close enough to the vehicle to examine it while it was at Bayview.

                29.     Subsequently, I arranged with the defendants to have the Escalade delivered to the

         Casey Kaplan Gallery where I was preparing multiple artworks to be exhibited starting at the

         beginning of May 2017. At the Casey Kaplan Gallery, the vehicle was the centerpiece of the

         exhibition, and the show took its title, Sport/Utility, from the Escalade. In press accounts

         regarding the Sport/Utility artwork, the artistic significance of the 2008 Escalade was

         highlighted.

                30.     As a result of defendants commencement of crushing before I and my crew

         arrived on April 12, 2017, their deceitful placement of the vehicle atop a stack of other vehicles –

         obviously intended to thwart inspection – and their delivery of the vehicle shortly before the

         show at Casey Kaplan was to begin, I assumed and understood that the vehicle delivered to the

         gallery was the same one that I had delivered to Bayview.

                31.     In or about January 2021, a follower of my Instagram page argued with me that

         Sport/Utility was not a 2008 Escalade, provoking a public discussion on the subject, and the

         unfollowing of my Instagram page, because I had believed the car that I had delivered to

         Bayview was the same one that Bayview had delivered to Casey Kaplan, and defended the work

         on that ground. That is, because I had defended the work, I was deemed to lack credibility, and

         was unfollowed for that reason.

                32.     Because of the public discussion, however, on January 22, 2021, I ordered and

         obtained a CarFax report. To my astonishment, it indicated that the 2008 Escalade, identified by

         its VIN number, had sustained collision damage in 2019 and 2020, after it was purportedly

         crushed by the defendants.


                                                          10
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                               INDEX NO. 651397/2021
        CaseNO.
NYSCEF DOC.  3:24-cv-09172-MAS-RLS
                7                            Document 14-6        Filed 01/16/25      Page 12 of NYSCEF:
                                                                                       RECEIVED  14 PageID:
                                                                                                         04/26/2021
                                                     100



                33.     Based upon my review of the Instagram follower’s messages, photographs of

         Sport/Utility and its crushing, and the CarFax report, it was now clear that my 2008 Cadillac

         Escalade ESV was not actually the vehicle placed in the crusher by the “idiots” at Bayview on

         April 12, 2017, but instead that my vehicle had been surreptitiously swapped by the defendants

         with a standard Escalade from an earlier model year.

                34.     That is, I realized they’d been defrauded.

                35.     Although I had repeatedly explained my project requirements to the defendants,

         including the artistic significance of the white 2008 Escalade, and although the defendants

         represented to me in or about March and April 2017 that they would crush my 2008 Escalade

         according to my intentions for the artwork, the defendants never intended to do so. Instead, they

         fraudulently intended to convert my 2008 Escalade ESV for their own benefit and profit, while

         deceitfully swapping and crushing an insignificant vehicle, with a significantly lesser value.

                36.     While the defendants represented to me in or about March and April 2017 that

         they would crush my 2008 ESV Escalade according to my requirements, when my film crew and

         I arrived at Bayview on April 12, 2017, the defendants had already deliberately and secretly

         substituted an earlier model of a standard white Escalade, despite knowing the importance of the

         2008 model year Escalade to me and to my work.

                37.     Defendants also surreptitiously placed the substituted standard Escalade on the

         crusher where my crew and I could not see it clearly, and began the crushing process before we

         arrived, to conceal the fact that the defendants had already substituted another vehicle in place of

         my 2008 Escalade ESV.




                                                          11
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                               INDEX NO. 651397/2021
        CaseNO.
NYSCEF DOC.  3:24-cv-09172-MAS-RLS
                7                            Document 14-6        Filed 01/16/25      Page 13 of NYSCEF:
                                                                                       RECEIVED  14 PageID:
                                                                                                         04/26/2021
                                                     101



                38.     Defendant Fanelli’s remonstrations toward the Bayview employees who had

         begun crushing the substituted Escalade before the arrival of my crew and me on April 12, 2017

         were designed to distract and prevent me from discovering that they had secretly substituted

         another vehicle in place of my 2008 Escalade ESV.

                39.     If Bayview and its personnel had waited until my film crew and I had arrived at

         Bayview before they’d begun crushing the Escalade, as I and the defendants had agreed, my

         crew and I would have seen that they had surreptitiously replaced the 2008 Escalade ESV that I

         had delivered to Bayview, with another, different Escalade.

                40.     If Bayview and its personnel had waited until my film crew and I had arrived at

         Bayview before they’d begun crushing the Escalade, as I and the defendants had agreed, my

         crew and I would have captured on video that they had secretly replaced the 2008 Escalade ESV

         that I delivered to Bayview, with another, different Escalade.

                41.     As I was unaware of defendants’ sleight of hand, I accepted delivery of the

         crushed vehicle at the Casey Kaplan Gallery, and made it the centerpiece of my exhibition, and

         incurred expenses to install the work at the gallery, and subsequently to store the work after the

         exhibition concluded.

                42.     Sport/Utility nearly doubled in value from $180,000 to $350,000, and collectors

         were interested in purchasing the artwork, before the discovery that it is not a 2008 Escalade

         ESV. However, as a result of defendants’ secret, fraudulent and deceitful conduct this work now

         has no value as my work of art, just as an imitation Picasso has zero value as a Picasso artwork.

         Defendants, by their fraud, have rendered Sport/Utility valueless.




                                                         12
FILED: NEW YORK COUNTY CLERK 04/26/2021 05:36 PM                                                   INDEX NO. 651397/2021
        CaseNO.
NYSCEF DOC.  3:24-cv-09172-MAS-RLS
                7                                 Document 14-6       Filed 01/16/25      Page 14 of 14
                                                                                           RECEIVED     PageID:
                                                                                                     NYSCEF: 04/26/2021
                                                          102



                    43.        Further, given my stature and the need to protect the value of my artworks, my

          reputation, and my long-term artistic legacy, the fraudulent Sport/Utility artwork cannot be sold.

                   44.         Accordingly, because the defendants have failed to timely answer the complaint, I

          respectfully request that they be deemed to be in default, and that this matter be set down for an

          inquest on damages.




          Sworn to before me this 26st day of April, 2021
          (videographically, as permitted by Emergency Executive Order 202.7, of March 19, 2020)
          / ��
                  - ---
             --- ---=· --· -.;.
          ____,,,-,c_..z_ - :::,,--- �




          Notary Public
          Richard E. Lerner
          Commissioned Queens County
          No. O2LE5032882
          Expires September 6, 2021




                                                               13
